                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )
                                                       )
vs.                                                    )   Case No. 19-00225-08-CR-W-GAF
                                                       )
JOSHUA L. MASON,                                       )
                                                       )
                               Defendant.              )

                                             ORDER

       On November 17, 2021, Defendant appeared pursuant to Fed. R. Crim. P. 11, Local Rule

72.1(b)(1)(J), and 28 U.S.C. § 636 and entered a plea of guilty pursuant to Fed. R. Crim. P.

11(c)(1)(A) to the lesser included offense of Count One and to Count Thirteen of the

Superseding Indictment (Doc. #22) before United States Magistrate Judge W. Brian Gaddy. On

November 18, 2021, Judge Gaddy issued his Report and Recommendation (Doc. #160).

Objections were due on or before December 2, 2021. No objections were filed.

       Upon careful and independent review, this Court finds that defendant’s plea was

knowledgeable and voluntary and that the offenses charged str supported by an independent

basis in fact containing each of the essential elements of such offenses. Accordingly, this Court

hereby adopts and incorporates as its own Opinion and Order the Report and Recommendation

of United States Magistrate Judge W. Brian Gaddy.

       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and

defendant is adjudged guilty. The defendant’s sentencing hearing will be scheduled and the

parties notified of the date and time of sentencing.




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     SO ORDERED.
                                         s/ Gary A. Fenner
                                         GARY A. FENNER, JUDGE
                                         UNITED STATES DISTRICT COURT

DATED: December 3, 2021




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